                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                     *        CIVIL ACTION NO. 21-80

VERSUS                                *        SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,            *        Judge Wendy B. Vitter
III, ET AL.                                    Magistrate Judge Donna P. Currault

              Plaintiff’s Motion for Partial Summary Judgment

      NOW COME the Plaintiffs, through undersigned counsel, and file this motion

for partial summary judgment on their Fourth Amendment claim for unconstitutional

search warrants. In support thereof they state:

      On January 19, 2020, the minor E.P. died in the custody of Jefferson Parish

Sheriff’s Office deputies. The next day, JPSO began seeking criminal search warrants

for information about E.P.’s background.

      None of the search warrant applications identified any alleged crime. At

deposition, JPSO admitted that it did not describe any crime in the warrant

applications because it did not suspect any crime.

      But criminal search warrants without a crime are forbidden by the Fourth

Amendment to the United States Constitution. That amendment bars any warrant

from issuing except “upon probable cause” of a crime.

      And so JPSO’s admitted use of criminal search warrants without even the

suspicion of a crime – much less probable cause – indisputably violates the Fourth

Amendment.

      JPSO also testified that the use of these search warrants was consistent “with


                                           1
 the way Sheriff Lopinto requires that [search warrants] be used.”

      For that reason, partial summary judgment should issue on Plaintiffs’

unconstitutional search warrant claim against Sheriff Lopinto in his official capacity.

                                       RESPECTFULLY SUBMITTED,

                                       Andrew C. Clarke (TN BPR # 15409)
                                       The Cochran Firm Midsouth
                                       One Commerce Square, Suite 1700
                                       (901) 523-1222 (Telephone)
                                       aclarke@cochranfirmmidsouth.com

                                       /s/ William Most
                                       WILLIAM MOST (BPR # 36914)
                                       Most & Associates
                                       201 St. Charles Ave., Ste. 114 #101
                                       New Orleans, LA 70170
                                       Tel: (504) 509-5023
                                       williammost@gmail.com




                                           2
